                              Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 1 of 117



                          1    AARON D. LOVAAS, ESQ. SBN 5701
                               DAVID L. EDELBLUTE, ESQ. SBN 14049
                          2    NEWMEYER & DILLION LLP
                               3800 Howard Hughes Pkwy, Suite 700
                          3    Las Vegas, Nevada 89169
                               Telephone: (702) 777-7500
                          4    Facsimile: (702) 777-7599
                               Aaron.Lovaas@ndlf.com
                          5    David.Edelblute@ndlf.com

                          6    Attorneys for Defendants
                               NORTHLAND MECHANICAL CONTRACTORS,
                          7    INC., a/k/a NORTHLAND MECHANICAL
                               SERVICES a/k/a NORTHLAND MECHANICAL
                          8    SOLUTIONS and SCIENCE CENTER DRIVE,
                               LLC.
                          9

                         10                                UNITED STATES DISTRICT COURT

                         11                                        DISTRICT OF NEVADA

                         12
                               NEVADA CORPORATE                             CASE NO.:
                         13    HEADQUARTERS, INC., a Nevada
                               corporation,
                         14
                                                     Plaintiff,
                         15                                                 NOTICE OF REMOVAL
NEWMEYER & DILLION LLP




                               vs.
                         16
                               SELLERS PLAYBOOK, INC., a
                         17    Minnesota Corporation; MATTHEW R.
                               TIEVA, an individual; JESSIE C. TIEVA,
                         18    an individual; SELLERS ONLINE,
                               assumed named; SELLERS SYSTEMS,
                         19    assumed name; NORTHLAND
                               MECHANICAL CONTRACTORS, INC.,
                         20    a Minnesota Corporation a/k/a
                               NORTHLAND MECHANICAL
                         21    SERVICES a/k/a NORTHLAND
                               MECHANICAL SOLUTIONS; SCIENCE
                         22    CENTER DRIVE, LLC, a Minnesota
                               Limited Liability Company; EXPOSURE
                         23    MARKETING COMPANY, a Minnesota
                               Limited Liability Company; DOES I
                         24    through X and ROE Corporations or
                               Business Entities I through X, inclusive,
                         25
                                                     Defendants.
                         26
                         27   ///
                         28   ///
                              4019.101 / 7809866.1
                              Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 2 of 117



                          1   TO:    THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF NEVADA

                          2          Defendants, NORTHLAND MECHANICAL CONTRACTORS, INC., a Minnesota

                          3   Corporation    a/k/a   NORTHLAND          MECHANICAL           SERVICES      a/k/a   NORTHLAND

                          4   MECHANICAL SOLUTIONS (hereinafter “NORTHLAND”) and SCIENCE CENTER DRIVE,

                          5   LLC, a Minnesota Limited Liability Company (hereinafter “SCIENCE”) (hereinafter collectively

                          6   “Defendants”), hereby give notice of removal of this action to the United States District Court for

                          7   the District of Nevada, on the grounds of diversity of citizenship, pursuant to 28 USC §§ 1441(b)

                          8   and 1446. In support thereof, the Defendants state and allege as follows:

                          9          Claim and Parties:

                         10          1.      NORTHLAND and SCIENCE are two Defendants in the above-entitled action

                         11   commenced on August 16, 2018, in the Eighth Judicial District Court, Clark County, Nevada, under

                         12   case number A-18-779579-C.

                         13          2.      Service of the Summons and Complaint, claiming breach of contract and seeking

                         14   declaratory relief, specific performance and additional damages, was made upon Defendants,

                         15   through their statutory agent of the State of Minnesota, on August 22, 2018.
NEWMEYER & DILLION LLP




                         16          3.      That at the time of the filing of the Complaint, NORTHLAND was, and still is, a

                         17   Minnesota corporation with its principal place of business in the State of Minnesota.

                         18          4.      That at the time of the filing of the Complaint, SCIENCE was, and still is a

                         19   Minnesota limited liability company with its principal place of business in the State of Minnesota.

                         20   Each of SCIENCE’s individual members is incorporated and/or organized in, has its principal place

                         21   of business in, and/or resides in a state other than Nevada.

                         22          5.      Defendants are informed and believe that Plaintiff in this action is at the time of

                         23   filing of this Complaint and still is a Nevada corporation with its principal place of business in the

                         24   State of Nevada and the same is alleged in the Complaint filed in case number A-18-779579-C in

                         25   the Eighth Judicial District Court, Clark County, Nevada.

                         26                  Jurisdiction:

                         27          6.      This Court has jurisdiction over this action under 28 USC §§ 1332 and 1441.

                         28   Jurisdiction exists under 28 USC § 1332 because complete diversity of citizen ship exists between
                              4019.101 / 7809866.1                         -2-
                              Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 3 of 117



                          1   Plaintiff, on one hand, and Defendants, on the other, and the amount in controversy exceeds

                          2   $75,000, and is therefore an action over which the district courts also have original jurisdiction.

                          3   See 28 USC § 1332(a). Specifically, jurisdiction exists under 28 USC § 1332 because there is

                          4   complete diversity between Plaintiffs and Defendant, and the amount in controversy substantially

                          5   exceeds $75,000 in that Plaintiffs purport to have suffered damages in excess of $1 million.

                          6             7.           For the reasons set forth above, this Court has original jurisdiction over this action

                          7   pursuant to 28 USC § 1332 and removal of the action to this Court its proper pursuant to 28 USC

                          8   § 1441(a).

                          9             Compliance with Statutory Requirements:

                         10             8.           Pursuant to 28 USC § 1446(a), copies of all process, pleadings, and orders received

                         11   by Defendants in this action are attached.

                         12             9.           Pursuant to 28 USC § 1446(6), this notice of removal is filed within 30 days of the

                         13   receipt by Defendants of the pleadings setting forth the claims for relief upon which the action is

                         14   based.

                         15             10.          Pursuant to 28 USC § 1446(d), Defendants will promptly provide written notice of
NEWMEYER & DILLION LLP




                         16   the removal of this action to Plaintiffs, through their attorneys of record, and to the Eighth Judicial

                         17   District Court, Clark County, Nevada.

                         18
                                                                                      NEWMEYER & DILLION LLP
                         19   Dated: this 21ST day of September, 2018

                         20

                         21                                                           By:
                                                                                            AARON D. LOVAAS, ESQ. SBN 5701
                         22                                                                 DAVID L. EDELBLUTE, ESQ. SBN 14049
                         23                                                                 3800 Howard Hughes Pkwy, Suite 700
                                                                                            Las Vegas, Nevada 89169
                         24                                                                 Telephone: (702) 777-7500
                                                                                            Facsimile: (702) 777-7599
                         25
                                                                                            Attorneys for Defendants
                         26
                                                                                            NORTHLAND MECHANICAL
                         27                                                                 CONTRACTORS, INC. and SCIENCE
                                                                                            CENTER DRIVE, LLC.
                         28
                              4019.101 / 7809866.1                                    -3-
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 4 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 5 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 6 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 7 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 8 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 9 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 10 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 11 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 12 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 13 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 14 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 15 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 16 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 17 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 18 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 19 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 20 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 21 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 22 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 23 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 24 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 25 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 26 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 27 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 28 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 29 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 30 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 31 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 32 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 33 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 34 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 35 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 36 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page  37 of 117
                                                       Electronically Filed
                                                            8/30/2018 2:46 PM
                                                            Steven D. Grierson
                                                            CLERK OF THE COURT




                          Case Number: A-18-779579-C
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 38 of 117




          02          October                             9:00 A
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 39 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 40 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 41 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 42 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 43 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 44 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 45 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 46 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 47 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 48 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 49 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 50 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page  51 of 117
                                                       Electronically Filed
                                                            8/29/2018 10:28 AM
                                                            Steven D. Grierson
                                                            CLERK OF THE COURT




                          Case Number: A-18-779579-C
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 52 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 53 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 54 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 55 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 56 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 57 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 58 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 59 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 60 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 61 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 62 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 63 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 64 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 65 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 66 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 67 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 68 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 69 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 70 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 71 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 72 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 73 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 74 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 75 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 76 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 77 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 78 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 79 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 80 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 81 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 82 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 83 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 84 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 85 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 86 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 87 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 88 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 89 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 90 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 91 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 92 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 93 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 94 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 95 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 96 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 97 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 98 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 99 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 100 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 101 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 102 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 103 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 104 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 105 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 106 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 107 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 108 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 109 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 110 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 111 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 112 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 113 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 114 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 115 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 116 of 117
Case 2:18-cv-01842-JCM-GWF Document 1 Filed 09/21/18 Page 117 of 117
